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Information to identify the case:
Debtor 1              Manuel Menize Jr.                                                 Social Security number or ITIN        xxx−xx−3094
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Ruth Elizabeth Menize                                             Social Security number or ITIN        xxx−xx−9559
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Florida
                                                                                        Date case filed for chapter 7 10/12/18
Case number:          6:18−bk−06338−CCJ


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Manuel Menize Jr.                                   Ruth Elizabeth Menize

2.      All other names used in the
        last 8 years

3.     Address                               1949 McKinley Ave.                                     1949 McKinley Ave.
                                             Melbourne, FL 32935                                    Melbourne, FL 32935

4.     Debtor's attorney                     J Christopher Crowder                                  Contact phone (321) 784−8158
                                             Faro & Crowder PA
       Name and address                      1801 Sarno Road, Suite 1                               Email: JCrowder@Farolaw.com
                                             Melbourne, FL 32935

5.     Bankruptcy Trustee                    Arvind Mahendru                                        Contact phone (407) 504−2462
                                             5703 Red Bug Lake Road
       Name and address                      Suite 284
                                             Winter Springs, FL 32708

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim
trustee pursuant to 11 USC § 701.
                                                                                                               For more information, see page 2 >
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Debtor Manuel Menize Jr. and Ruth Elizabeth Menize                                                           Case number 6:18−bk−06338−CCJ


6. Bankruptcy Clerk's Office                   George C. Young Federal Courthouse                           Hours open:
                                               400 West Washington Street                                   Monday − Friday 8:30 AM −
   Documents in this case may be filed at this Suite 5100                                                   4:00PM
   address. You may inspect all records filed Orlando, FL 32801
   in this case at this office or online at
   www.pacer.gov.                                                                                           Contact phone 407−237−8000

                                                                                                            Date: October 15, 2018

7. Meeting of creditors                         November 13, 2018 at 11:00 AM                               Location:

   Debtors must attend the meeting to be        The meeting may be continued or adjourned to a George C. Young Courthouse,
   questioned under oath. In a joint case,      later date. If so, the date will be on the court Suite 1203−B, 400 West
   both spouses must attend. Creditors may
   attend, but are not required to do so. You   docket.                                          Washington Street, Orlando, FL
   are reminded that Local Rule 5073−1                                                           32801
   restricts the entry of personal electronic     *** Debtor(s) must present Photo ID and acceptable
   devices into the Courthouse.                  proof of Social Security Number at § 341 meeting. ***


8. Presumption of abuse                         The presumption of abuse does not arise.

   If the presumption of abuse arises, you
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. §
   707(b). Debtors may rebut the
   presumption by showing special
   circumstances.


9. Deadlines                                  File by the deadline to object to discharge or                Filing deadline: January 14, 2019
                                              to challenge whether certain debts are
   The bankruptcy clerk's office must receive dischargeable:
   these documents and any required filing
   fee by the following deadlines.
                                                You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or

                                                • if you want to have a debt excepted from discharge
                                                  under 11 U.S.C § 523(a)(2), (4), or (6).

                                                You must file a motion:
                                                • if you assert that the discharge should be denied
                                                  under § 727(a)(8) or (9).


                                                Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                exempt. If you believe that the law does not authorize an
                                                exemption claimed, you may file an objection.


10. Proof of claim                              No property appears to be available to pay creditors. Therefore, please do not file a
                                                proof of claim now. If it later appears that assets are available to pay creditors, the clerk
   Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
   you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a
                                     motion asking the court to extend the deadlines in this notice. Consult an attorney
                                     familiar with United States bankruptcy law if you have any questions about your rights
                                     in this case.

12. Exempt property                             The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                objection by the deadline to object to exemptions in line 9.

13. Voice Case Info. System                     McVCIS provides basic case information concerning deadlines such as case opening and closing
    (McVCIS)                                    date, discharge date and whether a case has assets or not. McVCIS is accessible 24 hours a day
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                                              except when routine maintenance is performed. To access McVCIS toll free call
                                              1−866−222−8029.
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